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(king West (Joicw

[_|White Center [MLK

[_]King East (]King Southwest
[XIKing Southeast L]Adoptions/BRS

Superior Court of Washington
County of King Juvenile Court
No: 20-7-00666-0 KNT
Dependency of:
Shelter Care Hearing Order
| NOVA Agreed as to [] mother 1] father [1] other
Contested as to PX mother (_] father CJ other
DOB: Default as to (] mother [4 father [1] other
Vey (SCOR)
[X] Clerk's Action Required. Para. 3.5 (EDL), 3.10
The parties shall:
(1 Hold a[] case conference [] mediation:
On: [Date] at a.m./p.m.

O King County Courthouse, 8th floor, 516 Third Avenue, Seattle, WA
C Kent Regional Justice Center, Courtroom 1L, 401 4" Ave. N., Kent, WA

[] Not hold a case conference at this time because the parent C] did not appear at shelter care [] did not want
to participate, or (] the court set a mediation instead.

ww Not hold a mediation because the court has determined that this case is not appropriate for mediation.
DVE TO pubic HEATH CHICIS

The court shall conduct a:

Date Time
Shelter Care Hearing 04/14/2020 08:00 AM

L_] King County Courthouse, Courtroom E854, 8th floor, 516 Third Avenue, Seattle, WA
XJ Kent Regional Justice Center, Courtroom 1L, 401 4" Ave. N., Kent, WA

Pre Trial Conference | 05/04/2020 | 01:30 PM

L] King County Courthouse, Courtroom E863, 8th floor, 516 Third Avenue, Seattle, WA
&] Kent Regional Justice Center, Courtroom 1L, 401 4! Ave. N., Kent, WA

Fact — Finding | 05/18/2020 | 01:30 PM

LJ King County Courthouse, Courtroom E863, 8th floor, 516 Third Avenue, Seattle, WA
x Kent Regional Justice Center, Courtroom 1L, 401 4!" Ave. N., Kent, WA

1. Hearing
1.1 Petition: A dependency petition was filed in this matter on _03/16/2020 [Date] by
DCYF [_] Other
The child was removed from the parents’ care on 03/16/2020 (Date) by
IX] court order [_] protective custody L] hospital/doctor hold (_] voluntary placement agreement.
The court held a shelter care hearing on this date or on__03/17/2020 (Date).

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Appearance: The following persons appeared at the hearing:

Cc Child oO Child's Lawyer
be Mother i Mother's Lawyer 4 :Uacl MPO
Father Father's Lawyer
LJ Alleged Father CT] Alleged Father
CJ Guardian or Legal Custodian CJ Guardian's or Legal Custodian's Lawyer
C] Child's GAL/CASA LJ GAL's Lawyer
Xx] DCYF Worker Xx DCYF's Lawyer
CJ Tribal Representative L] Current Caregiver
CJ Interpreter for (] mother [1] father oO Other

C] other

Basis: The court considered the dependency petition, declarations, testimony, if any, and the
relevant court records.

O The child is 12 years old or older and the court made the inquiry required by RCW
13.34.100(6).

ll. Findings

Notice: The petitioner gave adequate notice as required under RCW 13.34.062 to the Kx] mother
(J father (1) child if age 12 or older [1] guardian [1] legal custodian [1] other:

The petitioner [1] has L] has not made reasonable efforts to provide notice to the [_] mother
C] father CJ child] guardian CJ legal custodian (] other: and to
inform them of their rights.

Child’s Indian Status: The court asked each participant on the record whether the participant
knows or has reason to know that the child is an Indian child.

The petitioner J has J has not made a good faith effort to determine whether the child is an

Indian Child.

&) Based upon the following, there is not a reason to know the child is an Indian child as
defined in RCW 13.38.040 and 25 U.S.C. § 1903(4), and the Federal and Washington
State Indian Child Welfare Acts do not apply to this proceeding:
The child is not enrolled or eligible for enrollment in any federally recognized tribe. The
mother denied any Native American ancestry or eligible for membership of any Federally
Recognized Tribe. There is no reason to know the unknown father has any Native
American ancestry or eligible for membership of any Federally Recognized Tribe.

C] Based upon the following information currently available to the court, there is reason to
know the child is an Indian child as defined in RCW 13.38.040 and 25 U.S.C. § 1903(4),
and the Federal and Washington State Indian Child Welfare Acts do apply to this
proceeding, unless and until it is determined on the record that the child does not meet
the definition of an Indian child:

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O

Based upon the following, the child is an Indian child as defined in RCW 13.38.040 and
25 U.S.C. § 1903(4), and the Federal and Washington State Indian Child Welfare Acts do
apply to this proceeding:

The petitioner (_] has (] has not made preliminary efforts to notify all tribes to which the
petitioner or court knows or has reason to know the child may be a member or eligible for
membership of this proceeding.

2.3 Rights: The parties present at the hearing were informed of their rights pursuant to
RCW 13.34.065 and 13.34.090.

2.4 Waiver of Shelter Care Hearing: The [_] mother [1] father (J guardian (J legal custodian
requested a waiver of the shelter care hearing. The court determined that the parent, guardian,
or legal custodian (] was C] was not represented by an attorney and the waiver of the shelter
care hearing was knowing and voluntary.

2.5 Shelter Care Factors:
The court considered the following factors:

(a)

(b)

(c)

What services DCYF provided to the family to prevent or eliminate the need for removal
of the child from the child’s home.

OD If lack of suitable housing was a significant factor in removal of the child, whether
DCYF provided housing assistance to the family.

Whether the child can be safely returned to the home pending the dependency fact-
finding hearing.

Whether restraining orders or orders excluding an allegedly abusive household member
from the house of a nonabusive parent, guardian, or legal custodian, will allow the child to
safely remain in the home.

What efforts DCYF made to place the child with a relative or other suitable person known
to the child and with whom the child has a relationship. The court inquired whether
DCYF has discussed this issue with the parents.

Whether the placement proposed by DCYF is the least disruptive and most family-like
setting that meets the needs of the child.

Appointment of an attorney or guardian ad litem for the child’s parent, guardian, or legal
custodian, or for the child.

The terms and conditions for parental, sibling, and family visits.

2.6 Reasonable Efforts:

x

Petitioner made reasonable efforts to prevent or eliminate the need for removal of the child
from the child’s home. For the reasons set forth in the dependency petition, supporting
declarations and affidavits, and/or the testimony presented to the court:

] The risk of imminent harm to the child as assessed by petitioner establishes
reasonable cause for the continued out-of-home placement of the child pending the
fact finding hearing; and/or

CT Specific services offered or provided to the parent(s) have been unable to remedy
the unsafe conditions in the home and make it possible for the child to return home;
and/ or

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Be Returning the child to the home would seriously endanger the child’s health, safety,
and welfare.

C] Additional reasonable efforts findings:

250 Shelter Care:

C The court does not find reasonable cause to believe that shelter care is needed.

Kl It is currently contrary to the welfare of the child to remain in or return home. The child is in
need of shelter care because there is reasonable cause to believe:

x The child has no parent, guardian, or legal custodian to provide supervision or care
for such child; and/or

a The release of the child would present a serious threat of substantial harm to the
child; and/or

O The parent, guardian or custodian to whom the child could be released is alleged
to have violated RCW 9A.40.060 or 9A.40.070.

C The child is or there is reason to know the child is an Indian child as defined in
. RCW 13.38.040 and 25 U.S.C. § 1903(4). The child is in need of shelter care to prevent
imminent physical damage or harm to the child.

2.8 Placement:

OJ A L relative or (1) suitable person is available or willing to care for the child and to meet
any special needs of the child or to facilitate the child’s visitation with siblings.

oO Placement with the relative or other suitable person is in the child’s best
interests.

O DCYF needs to further investigate the character and suitability of the proposed
relative or other suitable person to determine if the placement is in the child's
best interests.

CO Placement with the relative or other suitable person is not in the child's best
interests as there is reasonable cause to believe that placement of the child with
the relative or suitable person would [_] jeopardize the health, safety or welfare
of the child (-] hinder efforts to reunite the parent and child.

Xl) A { relative or [] suitable person is not available or willing to care for the child and to
meet any special needs of the child or to facilitate the child’s visitation with siblings.

oO DCYF made the following efforts toward placement with a relative or other suitable
person:

2.9 Restraining Order:

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Cc The court finds reasonable cause to believe that an incident of sexual or physical abuse
has occurred and that a restraining order is necessary pursuant to RCW 26.44.063(2).

C] A restraining order [-] has been (] shall be entered pursuant RCW 26.44.063 and shall
be incorporated by reference into this order. Placement of the child with

[name] shall be contingent on continued compliance
with the terms of the restraining order.

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2.10 Services:

The court inquired into whether the child, the parent or parent(s), or the legal guardian requires
examinations, evaluations, or immediate services. The court also inquired into whether the parent(s)
agree(s) to any recommended services, and the parent(s) agree(s) to participate in the services listed in
the Order.
x! The Department recommends the following examinations, evaluations, or immediate
services for the child:

Well child exam within 30 days and follow up appointments as scheduled.

[_] The child is 12 or older and [] agrees to the services _] was notified of the services
(J was notified that he/she may request an attorney.

2.11. Education status:
[1 The child is not of school age.

XX The court considered whether it is in the best interest of the child to remain enrolled in the
Pine Tree Elementary [name of school,
developmental program, or child care] the child was in prior to placement and what efforts
have been made to maintain the child in the school, program, or child care if it would be in
the best interest of the child to remain in the same school, program, or child care.

CJ The child should not remain enrolled in the child's present school, developmental program,
or child care and the reasons for the transfer to a new school, developmental program, or
child care are:

0 DCYF should enroll the child in school, developmental program, or child care immediately
and within seven school days and request transfer of records.

DCYF is responsible for coordinating the student's educational information.

C1 &

The child meets the criteria for appointment of an educational liaison. DCYF recommends
that the court appoint (name) as the child’s
educational liaison.

CJ The parents are not able to serve as the educational liaison because:

2.12 & Other: The Department recommends the following services for the parents:

Mother: Drug and alcohol assessment following recommendations, random UAs four times
per month, mental health assessment following recommendations, and a parenting
assessment following recommendations.

Father: To be assessed once identified.

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Ill. Order
Placement:
CL] The child is released to the child’s parent, guardian or legal custodian:
Name(s):
Address:

Subject to the following conditions:

I The child is placed in or shall remain in shelter care, in the temporary custody and under
the supervision of DCYF, which shall have the authority to place the child in:

x Licensed foster care.
CJ Relative placement with [name].
CT Placement with a suitable person: [name].

Placement with the relative or suitable person is contingent upon the caregiver's
cooperation with the DCYF case plan and compliance with this, and all subsequent court
orders related to the care and supervision of the child, including but not limited to parent-
child contact, sibling contacts, and any other conditions imposed by the court.

Placement conditions: Relatives placement will complete a home study application within
ten days. If relatives do not complete within ten days or pass the home study the
Department has the authority to remove child(ren).

Ri DCYF shall continue to make reasonable efforts to locate and investigate an appropriate
relative or other suitable person who is available and willing to care for the child, and is.
authorized to share information with potential relative or other suitable person placement
resources as necessary to determine their suitability and willingness as a placement for
the child.

CO DCYF shall have authority to place the child with an appropriate
relative with prior reasonable notice to the parties, subject to review by the court.

Visitation: DCYF shall provide visits between the child and parent, guardian, or legal custodian
as follows:

CJ Per visitation attachment.

&] As follows: = wd

Mother: Minimum twice a week for’ o hours supervised by caregiver or DCYF designee. =
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Father: To be assessed once identified. caved gx mee Tun dept WA! [ provicle
If siblings are not placed together, DCYF shall provide sibling visits or contact as follows: A toclay

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IX] Visitation may be expanded upon agreement of the parties.

3:3 Attorney/GAL Appointments: Attorney and guardian ad litem appointments are as follows:

L] attorney [X] guardian ad litem ‘or___ (I Xey 2 [Name].

LC attorney (J guardian ad litem for [Name].
C) attorney J guardian ad litem for [Name].
[_] attorney 1] guardian ad litem for [Name].

3.4 Services:

C DCYF shall offer or provide and the parent/guardian/custodian shall participate in the
following agreed upon examinations, evaluations, or immediate services:

O The mother shall participate in the following:

LJ The father shall participate in the following:

L] The alleged father (name) shall participate in the following:

CO The guardian/legal custodian shall participate in the following:

O DCYF shall provide and the child shall participate in the following examinations,
evaluations, or immediate services:

[J Per attached service plan.

LJ Other:

3:5 Education:

C] DCYF or its designee shall immediately and within seven school days timely enroll the child in
school and request transfer of records.

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C] DCYF or its designee shall provide the child's school with a certified copy of the Order and
Authorization Re Health Care and Education.

0 (Name) is appointed as the child’s educational liaison to carry
out the responsibilities described in RCW 13.34.046. The educational liaison must
complete criminal background checks required by DCYF.

3.6 Parental Cooperation:

The parents shall cooperate with DCYF and provide a current address and phone number to the
social worker at all times. Within two weeks of the entry of this order, the parents shall provide
additional information necessary for placement and notice purposes including:

(a) The names, addresses, and phone number of any relatives or other suitable persons who
may be placement resources for the child.

(b) The names, addresses, phone numbers and other identifying information of any alleged
parent(s) of the child.

(c) Any known information regarding possible membership in or descent from an Indian tribe.

(d) Information necessary to determine financial eligibility for services or foster care.

(e) Other:

The parents shall sign and maintain current releases of information during the course of these

proceedings for exchange of information between all evaluators and service providers, DCYF,

CASA/GAL, Juvenile Court, AAG, and the parents’ attorneys.

3.7 Paternity:

C The alleged father(s) shall cooperate in the
establishment of paternity and shall complete all interviews, paperwork, and genetic
testing within days of the entry of this order.

xX The mother shall cooperate in the establishment of paternity and shall complete all
interviews, paperwork, and genetic testing within days of the entry of this order.

kl] The child shall be made available for genetic testing.

x If paternity has not been established regarding the child, the court authorizes the
King County Prosecutor’s Office to proceed in the King County Superior Court, Family
Law Division, on the issue of paternity, current and past child support, and costs.

3.8 Release of Information:

All court-ordered service providers shall make all records and all reports available to DCYF,
attorney for DCYF, parent's attorney, the guardian ad litem and attorney for the child. Parents
shall sign releases of information and allow all court-ordered service providers to make all records
available to DCYF and the guardian ad litem or attorney for the child. Such information shall be
provided immediately upon request. All information, reports, records, etc., relating to the
provision of, participation in, or parties’ interaction with services ordered by the court or offered by
DCYF may be subject to disclosure in open court unless specifically prohibited by state or federal
law or regulation.

3.9 General:

DCYF shall have the right to access, inspect, and copy all records pertaining to the above-named
child, including but not limited to health, medical, mental health and educational records.

DCYF may authorize evaluations of the child’s physical or emotional condition, routine medical
and dental examination and care, and all necessary emergency care.

DCYF shall make reasonable efforts to advise the child’s [.] mother [1] father C1] legal guardian
or custodian of the status of this case, including the date and time of the hearing(s) scheduled
below and their rights under RCW 13.34.090.

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3.10 Restraining Order:
0 The court signed a separate restraining order on this date.
O The restraining order entered pursuant to RCW 26.44.063 is incorporated into this order.
Placement of the child with is contingent on continued compliance
with the terms of this restraining order. Failure to comply with any and all terms of this order may
result in removal of the child.
The person having physical custody of the child has an affirmative duty to assist in the
enforcement of this restraining order and to notify law enforcement, DCYF, and the court as
necessary to request assistance and/or report violations of the order.
3.11. Child’s Indian Status:
Any party who subsequently receives information that provides a reason to know the child is an
Indian child under 25 C.F.R. § 23.107 shall inform the court.
3.12 All parties shall appear at the next scheduled hearing (see page one).
3.13 Other:
[] The child shall remain in court-ordered placement and comply with all rules of placement.
Failure to comply may result in a finding of contempt and sanctions.
==
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Oommr.Cs fore4—
Ann Danieli
Presented by:
Assistant Attorney General
WSBA# SoULG|
Copy Received. Approved for entry, notice of presentation waived.
Signature of Child DO Signature of Child's Lawyer
Print Name WSBA No.
[ ry ke
Haire (ad
C1 Signature of Mother C1] Signature of Mother's Lawyer
OC Pro Se, Advised of Right to Counsel
fi ( (aid ASW
Print Name! ‘WSBA No.

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CJ Signature of Father
C] Pro Se, Advised of Right to Counsel!

C Signature of Father's Lawyer

Print Name WSBA No.

C] Signature of Guardian or Legal Custodian
LJ Pro Se, Advised of Right to Counsel

C] Signature of Guardian or Legal Custodian’s Lawyer

Print Name WSBA No.

0 Signature of Child's GAL

(J Signature of Lawyer for the Child’s GAL

Print Name

Print Name WSBA No.

Signature of DCYF Representative

Signature of DCYF Representative’s Lawyer

Print Name Print Name WSBA No.

C) Signature of Tribal Representative C1 Signature

Print Name Print Name WSBA No.
Lawyer for

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